                   IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                              NORTHERN DIVISION

In re: Runnin L Farms, LLC                        )          Case No.: 19-82716-CRJ-11
       EIN: xx-xxx0864                            )
                                                  )
              Debtor.                             )          CHAPTER 11
                                                  )

             AMENDED REPORT ON BALLOTS FILED CONCERNING
           DEBTOR’S FOURTH AMENDED PLAN OF REORGANIZATION

       COMES NOW Runnin L Farms, LLC (the “Debtor”), and, pursuant to 11 U.S.C. § 1126
and this Court’s order, files this report on ballots filed concerning its pending Fourth Amended
Plan of Reorganization [Doc. 238] (the “Plan”):

                              VOTING RESULTS BY CLASS

       CLASS                                                 VOTING RESULTS

       Class 1                                        Class Voted to Reject the Plan.

              Creditor Northland Capital Financial Services, LLC voted to Reject the Plan
              [Doc. 183]. This Class is impaired and eligible to vote.

       Class 2                                        Class Voted to Accept the Plan.

              Creditor BMO Harris (proofs of claim ## 6, 7, and 9) voted to Accept the Plan
              [Doc. 227]. This Class is impaired and eligible to vote.

       Class 3                                        Class Voted to Accept the Plan.

              Creditor BMO Harris (proofs of claim ## 8 and 10) voted to Accept the Plan
              [Doc. 227]. This Class is impaired and eligible to vote.

       Class 4                                        Class Voted to Accept the Plan.

              Creditor Sterns National Bank Association voted to Accept the Plan [Doc. 185].
              This Class is impaired and eligible to vote.




                                                  1

Case 19-82716-CRJ11         Doc 240 Filed 05/01/20 Entered 05/01/20 10:18:51                Desc
                              Main Document    Page 1 of 3
     Class 5                                     Class Voted to Accept the Plan.

           Creditor People’s Trust Bank voted to Accept the Plan [Doc. 217-221]. This
           Class is impaired and eligible to vote.

     Class 6                                     Class Voted to Accept the Plan.

           Creditor Falcon Leasing voted to Accept the Plan [Doc. 212]. This Class is
           impaired and eligible to vote.

     Class 7                                     Class Voted to Accept the Plan.

           Creditor EvaBank voted to Accept the Plan [Doc. 209]. This Class is impaired
           and eligible to vote.

     Class 8                                     Class Voted to Accept the Plan.

           Creditor ENGS Commercial Finance Co. voted to Accept the Plan [Doc. 228].
           This Class is impaired and eligible to vote.

     Class 9                                     Class Voted to Accept the Plan.

           Creditor Sumitomo Mitsui Finance Limited Co. voted to Accept the Plan [Doc.
           226]. This Class is impaired and eligible to vote.

     Class 10                                    Class Voted to Accept the Plan.

           Creditor ENGS Commercial Finance Co. voted to Accept the Plan [Doc. 228].
           This Class is impaired and eligible to vote.

     Class 11                                    The Holders of Claims in this Class Are
                                                 Insiders Ineligible to Vote on the Plan.




                                             2

Case 19-82716-CRJ11      Doc 240 Filed 05/01/20 Entered 05/01/20 10:18:51               Desc
                           Main Document    Page 2 of 3
                                             CONCLUSION

       The creditors in nine impaired Classes eligible to vote cast ballots in favor of accepting
the Plan. One secured Class voted to reject the Plan.

       The Plan is eligible for confirmation pursuant to 11 U.S.C. § 1129(b).

       The United States of America, on behalf of the Internal Revenue Service (the “IRS”),
filed an objection to confirmation alleging that the Debtor has failed to file certain pre-petition
employment tax returns. The Debtor intends to resolve the IRS’s objection prior to confirmation.
No other parties-in-interest filed any written objections to confirmation.

       Respectfully submitted this the 1st day of May, 2020.



                                              /s/ Tazewell T. Shepard IV
                                              Tazewell T. Shepard III
                                              Tazewell T. Shepard IV
                                              Attorneys to Chapter 11 Debtor

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                                 CERTIFICATE OF SERVICE

       This is to certify that I have this the 1st day of May, 2020 served the foregoing document
upon all addressees on the Clerk’s Mailing Matrix, all parties requesting notice, and the Office of
the Bankruptcy Administrator by electronic service through the Court’s CM/ECF system and/or
by placing a copy of the same in the U. S. Mail, postage prepaid.

                                              /s/ Tazewell T. Shepard IV
                                             Tazewell T. Shepard IV




                                                 3

Case 19-82716-CRJ11          Doc 240 Filed 05/01/20 Entered 05/01/20 10:18:51               Desc
                               Main Document    Page 3 of 3
